 Case 5:24-cv-03203-PHK Document 1-1 Filed 05/28/24 Page 1 of 34




FILED UNDER SEAL PURSUANT
   TO PROTECTIVE ORDER


            EXHIBIT 1
           Case 5:24-cv-03203-PHK Document 1-1 Filed 05/28/24 Page 2 of 34

                                                                                         US010771849B2

( 12) United States Patent                                             ( 10) Patent No .: US 10,771,849 B2
         Krebs                                                         (45 ) Date of Patent :   Sep. 8, 2020
( 54 ) MULTIMEDIA SYSTEM FOR MOBILE                               ( 56 )                  References Cited
         CLIENT PLATFORMS
                                                                                   U.S. PATENT DOCUMENTS
( 71 ) Applicant: Mark Sinclair Krebs , Toronto ( CA)                      5,202,961 A     4/1993 Mills et al .
                                                                           5,414,455 A     5/1995 Hooper et al .
( 72 ) Inventor: Mark Sinclair Krebs , Toronto ( CA)                                         (Continued )
( * ) Notice :     Subject to any disclaimer, the term of this                  FOREIGN PATENT DOCUMENTS
                   patent is extended or adjusted under 35        EP                 0762300 A2       3/1997
                   U.S.C. 154 ( b ) by 8 days.                    EP                 1411698 A1       4/2004
( 21 ) Appl. No .: 16 /181,285                                                               (Continued )
                                                                                     OTHER PUBLICATIONS
( 22 ) Filed :     Nov. 5 , 2018
                                                                  Alex Zambelli, " IIS Smooth Streaming Technical Overview ," Microsoft
( 65 )               Prior Publication Data                       Silverlight Windows Server Internet Information Services, Mar.
                                                                  2009 , pp . 1-17 , Microsoft Corporation .
         US 2019/0075361 A1     Mar. 7 , 2019                                                ( Continued )
                                                                  Primary Examiner Sath V Perungavoor
               Related U.S. Application Data                      Assistant Examiner - Kristin Dobbs
                                                                  (74 ) Attorney, Agent, or Firm - Elan IP Inc.
( 63 ) Continuation of application No. 15 / 016,821 , filed on    (57 )                     ABSTRACT
       Feb. 5 , 2016 , now Pat . No. 10,171,873 , which is a
                         (Continued )                             A method for multimedia playback and transmission to
                                                                  wireless clients is described . A host webserver transcodes a
( 51 ) Int . CI .
                                                                  live digital or analog audio - visual or audio broadcast signal
                                                                  and splits the input stream into small multimedia objects of
       H04N 21/462               ( 2011.01 )                      an efficient compression such as MPEG4 /AAC , and then
         HO3M 7742               ( 2006.01 )                      immediately deploys the objects to distributed content serv
                         (Continued )                             ers for a geographically dispersed population of wireless
(52) U.S. CI.                                                     clients . A java applet object player, downloaded to wireless
         CPC         H04N 21/4621 ( 2013.01 ) ; G06F 16/41        clients at the beginning of the multimedia on -demand ses
                          ( 2019.01 ) ; HO3M 7742 ( 2013.01 ) ;   sion, interprets and decodes the multimedia objects as they
                        ( Continued )
                                                                  are received, using multiple levels of optimization. The
                                                                  applet uses novel video and audio decoding optimizations
( 58 ) Field of Classification Search                             which can be generically applied to many digital video and
       CPC .... HO4N 21/4621 ; H04N 19/40 ; H04N 19/46 ;          audio codecs , and specifically decodes Simple Profile
                  HO4N 21/6181 ; HO3M 7/42 ; G06F 16/41           MPEG4 video and Low Complexity AAC audio .
                        (Continued )                                            9 Claims , 21 Drawing Sheets




                                     solir            (SPD)




                                      pen
                                    dom
             Case 5:24-cv-03203-PHK Document 1-1 Filed 05/28/24 Page 3 of 34


                                                      US 10,771,849 B2
                                                                Page 2

                 Related U.S. Application Data                              6,397,230 B1 5/2002 Carmel et al .
                                                                            6,490,320 B1 * 12/2002 Vetro                        HO4L 29/06
          continuation of application No. 11 / 107,952 , filed on                                                                375 /240.08
      Apr. 18 , 2005 , now abandoned .                                      6,536,043 B1    3/2003 Guedalia
                                                                            6,747,991 B1 * 6/2004 Hemy                     HO4N 21/23418
(51 ) Int. Cl.                                                                                                                   370/236
          H04N 19/40              ( 2014.01 )                               6,963,972 B1 * 11/2005 Chang                    HO4L 63/0442
                                                                                                                              348 /E7.056
          H04N 19/46              ( 2014.01 )                               7,120,194 B2      10/2006 Lee
          H04N 21/61              ( 2011.01 )                               7,295,608 B2      11/2007 Reynolds et al .
          G06F 16/41              ( 2019.01 )                               9,800,538 B2      10/2017 Mostafa
                                                                         2001/0042107 Al      11/2001 Palm
( 52 ) U.S. Cl.                                                          2002/0120675 A1       8/2002 Everett et al .
          CPC             H04N 19/40 (2014.11 ) ; H04N 19/46             2003/0204605 Al      10/2003 Hudson et al .
                       (2014.11 ) ; H04N 21/6181 (2013.01 )              2004/0194144 A1
                                                                         2005/0076136 A1
                                                                                               9/2004 Lin et al .
                                                                                               4/2005 Cho et al.
( 58 ) Field of Classification Search                                    2007/0298719 Al      12/2007 Sproule et al.
          USPC                                          375/240
          See application file for complete search history.                       FOREIGN PATENT DOCUMENTS
( 56 )                  References Cited                             WO                 9730551 A1         8/1997
                                                                     WO                 0193161 A1        12/2001
                  U.S. PATENT DOCUMENTS                              WO                02082292 A1        10/2002
         5,434,678 A      7/1995 Abecassis                                              OTHER PUBLICATIONS
         5,434,860 A      7/1995 Riddle
         5,579,239 A     11/1996 Freeman et al .
         5,610,841 A      3/1997 Tanaka et al .                      Li et al . , “ Two Decades of Internet Video Streaming: A Retrospec
         5,612,742 A      3/1997 Krause et al .                      tive View ” , ACM Transactions on Multimedia Computing, Oct.
         5,751,883 A      5/1998 Ottesen et al .                     2013 , pp . 1-20 , vol . 33 No. 9 .
         5,751,968 A      5/1998 Cohen
                         10/1998 Foladare et al .
                                                                     Luiz Fernando Capretz, “ A Brief History of the Object -Oriented
         5,819,160 A                                                 Approach ," ACM SIGSOFT, Mar. 2003 , vol . 28. No. 6. , pp . 1-11 ,
         5,821,986 A     10/1998 Yuan et al.                         Software Engineering Notes , 10.1145 /638750.638778 .
         5,841,432 A     11/1998 Carmel et al .                      Schwartz Communications, Inc. , “ GEO Interactive Unveils Emblaze
         5,892,915 A      4/1999 Duso et al .                        Live Technology ; Revolutionary Emblaze Technology Used for
         5,903,673 A      5/1999 Wang et al .                        White House EasterLink Cybercast; No plug - ins or Server Software
         5,928,330 A      7/1999 Goetz et al.                        Required ,” The Free Library, Apr. 13 , 1998 , pp . 1-3 , Business Wire.
         5,933,603 A      8/1999 Vahalia et al .                     Realnetworks Inc. , “ RealSystem G2 Production Guide” BETA 1
         5,953,506 A      9/1999 Kalra et al .                       Release , May 14 2002 , pp . 1-130 .
         5,974,503 A     10/1999 Venkatesh et al .                   Li et al , “ Distributed Multimedia Systems,” Proceedings of the
         5,987,510 A     11/1999 Imai et al .                        IEEE , Jul. 1997 , pp . 1063-1108 ,, vol . 85 No. 7 .
         5,996,015 A     11/1999 Day et al.                          Franc Kozamernik , “ Media Streaming over the internet ” , EBU
         6,014,694 A      1/2000 Aharoni et al .                     Technical Review , Oct. 2002 , pp . 1-15 , Webcasting.
         6,014,706 A      1/2000 Cannon et al.
                                                                     Zhang et al . , “ Resource Allocation for Multimedia Streaming Over
         6,032,193 A      2/2000 Sullivan
                                                                     the Internet,” IEEE Transactions on Multimedia , Sep. 2001 , vol . 3 .
         6,112,226 A      8/2000 Weaver et al .
         6,119,154 A      9/2000 Weaver et al .                      No. 3 , pp . 339-355 .
         6,138,147 A     10/2000 Weaver et al .                      Krasic et al . , “ The Case for Streaming Multimedia with TCP,"
         6,151,632 A     11/2000 Chaddha et al .                     Lecture Notes in Computer Science , Aug. 2001 , pp . 1-6 , vol . 2158 .
         6,195,352 B1     2/2001 Cushman et al .                     Shahabi et al . , “ Yima : A Second -Generation Continuous Media
         6,292,834 B1     9/2001 Ravi et al .                        Server" Computer, Jun . 2002 , pp . 56-62 , vol . 35 No. 6 , IEEE .
         6,385,596 B1     5/2002 Wiser et al .
         6,389,473 B1     5/2002 Carmel et al .                      * cited by examiner
    Case 5:24-cv-03203-PHK Document 1-1 Filed 05/28/24 Page 4 of 34


U.S. Patent       Sep. 8, 2020    Sheet 1 of 21           US 10,771,849 B2




               FIG |                              ?                5




     ?
                                                      1
                                                                  2

   10lir                                                          3

                                                                   io
   ?
           8
       ?
                                                      ?
                     ( oil)
  rol
    Case 5:24-cv-03203-PHK Document 1-1 Filed 05/28/24 Page 5 of 34


U.S. Patent       Sep. 8, 2020    Sheet 2 of 21             US 10,771,849 B2




          = FIG 2 2
                                     Supplied indentification



                                       + transport protocol




                                              + host id




                                          + directory path




                                                  + count




                                              + number
    Case 5:24-cv-03203-PHK Document 1-1 Filed 05/28/24 Page 6 of 34


U.S. Patent       Sep. 8, 2020    Sheet 3 of 21         US 10,771,849 B2




              FIG 33


                          MO                  Event

                           0                in window
                           1                in window
                           2                in window
                           3                in window
                           4                in window
                           0                deleted
                           5                in window
                           1                deleted
    Case 5:24-cv-03203-PHK Document 1-1 Filed 05/28/24 Page 7 of 34


U.S. Patent       Sep. 8, 2020     Sheet 4 of 21           US 10,771,849 B2




                                                Bu
            FIG 3a                                   13a

                             331
      12a
              2


                    31                      "I 1

                        1
                        1




                    3
     12                                   14h
              2


                            Home
    Case 5:24-cv-03203-PHK Document 1-1 Filed 05/28/24 Page 8 of 34


U.S. Patent         Sep. 8, 2020        Sheet 5 of 21             US 10,771,849 B2

                                FIG 4
                           Parse multimedia object



              create memory allocations for objects and metadata




                             assess state parameters




                     configure audio and /or video decoders




               determine frame display timing for audio and video




                  interleave audio and video frame processing



                   use state information to reposition playback
    Case 5:24-cv-03203-PHK Document 1-1 Filed 05/28/24 Page 9 of 34


U.S. Patent           Sep. 8, 2020     Sheet 6 of 21           US 10,771,849 B2


                                      FlGS
             27                       10                   ?



                                                                       Romanian
                                                                       R



    }                 1                +               7           7




                  ?
                           ??/
                                                           1
                                                           9
                                                                              |24.

                                                                   20
                       2                     20


        P?
                                     ?
                                     e ? 0                      0% ?
                                                                ?  e
                                       4
                                       .
    Case 5:24-cv-03203-PHK Document 1-1 Filed 05/28/24 Page 10 of 34


U.S. Patent        Sep. 8, 2020     Sheet 7 of 21     US 10,771,849 B2




                                  FIG 6




                             TextureDecoding
    Case 5:24-cv-03203-PHK Document 1-1 Filed 05/28/24 Page 11 of 34


U.S. Patent        Sep. 8, 2020      Sheet 8 of 21        US 10,771,849 B2




                             FIG 7

                    Bits read into integer buffer ( M )



               Bits read = longest code in VLC codebook



                     roof of logarithm (base 2 ) of N



           Nshifted and used as an index in array containing
                   true value and true length of code



               bits indicated removed from video stream
    Case 5:24-cv-03203-PHK Document 1-1 Filed 05/28/24 Page 12 of 34


U.S. Patent        Sep. 8, 2020    Sheet 9 of 21          US 10,771,849 B2




                                  FIGG
          Chrominance pixel residues applied to texture buffer



                          Copy to output frame



          Process with faster but less accurate IDCT algorithm



                Repeat these steps for luminance pixels
    Case 5:24-cv-03203-PHK Document 1-1 Filed 05/28/24 Page 13 of 34


U.S. Patent        Sep. 8, 2020     Sheet 10 of 21        US 10,771,849 B2




                              FIG


              Less quality , but faster processing required


        Macroblock reference point between pixels on reference
                                  VOP




              Perform faster motion compensation without
                         bilinear interpolation
    Case 5:24-cv-03203-PHK Document 1-1 Filed 05/28/24 Page 14 of 34


U.S. Patent        Sep. 8, 2020      Sheet 11 of 21         US 10,771,849 B2




                                  FIG 10


          device RGB colour resolution in 4- bit to 18- bit range



                     take original pixel value+ 128/2




                  values in l - 128,383] range- > [0,255)
    Case 5:24-cv-03203-PHK Document 1-1 Filed 05/28/24 Page 15 of 34


U.S. Patent        Sep. 8, 2020     Sheet 12 of 21       US 10,771,849 B2




                             FIG I

         assess energy or distribution of DC and AC coefficients



                   utilize simplified Chen's algorithm



          provide higher quality preference to luminance blocks


           record populated rows of input matrix to the IDCT,
               ignore input values of insignificant energy
    Case 5:24-cv-03203-PHK Document 1-1 Filed 05/28/24 Page 16 of 34


U.S. Patent         Sep. 8, 2020     Sheet 13 of 21        US 10,771,849 B2




                            FIG 12

                separate YUV and RGB scaling functions


              when scaling up, read pixels on source plane,
                 copy pixel values to the output plane


       when scaling down , iterate through pixel positions in output
            plane and calculate source pixel in input plane


                                         sample only a subset
           of chrominance pixels, for a subset of output pixels
    Case 5:24-cv-03203-PHK Document 1-1 Filed 05/28/24 Page 17 of 34


U.S. Patent         Sep. 8, 2020      Sheet 14 of 21        US 10,771,849 B2




                               FIG 13
                       determine step quality integer



                            step quality ruleset



                    determine overall encoding quality


      at the highest overall quality, all step qualities set to maximum



  as overall incrementally decreased, incrementally reduce step qualities
    Case 5:24-cv-03203-PHK Document 1-1 Filed 05/28/24 Page 18 of 34


U.S. Patent        Sep. 8, 2020    Sheet 15 of 21         US 10,771,849 B2




                             FIG 14


                                           Noiseless Decoding


                         AAC -LC              Scale Factors
                        BilStream

                                                    TAS



                                                ????
    Case 5:24-cv-03203-PHK Document 1-1 Filed 05/28/24 Page 19 of 34


U.S. Patent        Sep. 8, 2020      Sheet 16 of 21         US 10,771,849 B2




                                   FIG 15

                    Bits read into integer buffer ( M )



               Bits read = longest code in VLC codebook



                   locate first binary O , use left -base
                                  index




                         remove all previous 1s



                   N shifted and used as array index
    Case 5:24-cv-03203-PHK Document 1-1 Filed 05/28/24 Page 20 of 34


U.S. Patent             Sep. 8 , 2020   Sheet 17 of 21             US 10,771,849 B2

                                        FiG16
      Re- order input
       coefficients
                                                                          }
                                                                          ~~


                                              Re -order, pre -twiddle ,
                                                    and scale
       Pre -twiddle




          Scale




     Inverse Fourier                             Inverse Fourier
       Transform                                    Transform                124


        Re - scale




     Re- order output
       coefficients
                                               Re - scale , re -order,
                                             post -twiddle, window
                                                 ( and overlap)

      Post- twiddle




        Window
    Case 5:24-cv-03203-PHK Document 1-1 Filed 05/28/24 Page 21 of 34


U.S. Patent             Sep. 8 , 2020   Sheet 18 of 21       US 10,771,849 B2



        Noiseless decoding                                  FIG 17
        Inverse quantization



           Scale actors




         Mid /Side coding



            Intensity

                                          Pre- IFFT steps
                                          within IMDCT
         Temporal Noise
            Shaping
                                             Re- order



              IMDCT                         Prestwiddle



                                               Scale
          PCM audio out
    Case 5:24-cv-03203-PHK Document 1-1 Filed 05/28/24 Page 22 of 34


U.S. Patent        Sep. 8, 2020            Sheet 19 of 21             US 10,771,849 B2




  FIG IS                 Use trignometric identities




                                Calculate X * X




                                           combine with other fixed - point multiplications




                      Calculate X * (256 - S * (43- ($ « 1 ))



                      Window value range 0 to 255
    Case 5:24-cv-03203-PHK Document 1-1 Filed 05/28/24 Page 23 of 34


U.S. Patent        Sep. 8, 2020     Sheet 20 of 21       US 10,771,849 B2



                                  FIG 19

               divide 1024 values into 8 short windows




              window and overlap on each short window



                   synthesis window of 265 values


           overlap synthesis windows resulting in non -zero
                      values range 448 to 1600



        IMDCT values stored in output array which will be zeroed



       regions of synthesis output window = zero are disregarded
    Case 5:24-cv-03203-PHK Document 1-1 Filed 05/28/24 Page 24 of 34


U.S. Patent          Sep. 8, 2020        Sheet 21 of 21        US 10,771,849 B2




                                         FIG 20

                 21             25            25          25
                  27                27          27         27?


                 V              V             v
                 24            26            26           26
         Case 5:24-cv-03203-PHK Document 1-1 Filed 05/28/24 Page 25 of 34


                                                    US 10,771,849 B2
                               1                                                                    2
        MULTIMEDIA SYSTEM FOR MOBILE                                 The second configuration , Mobile Information Device Pro
              CLIENT PLATFORMS                                       file ( MIDP ) , runs on top of the CLDC , and several profiles
                                                                     run on top of CDC .
                  FIELD OF INVENTION                                  Java players for cell phones like the Oplayo MVQ player
                                                                 5 exist , but implementations of true , platform independent,
  The invention relates to issues of the wireless Internet,          MPEG4 Java decoders that will play video on cell phones
specifically to methods of multimedia transmission and               are not known. More efficient methods, such as U.S. Pat . No.
playback for mobile clients.                                         5,699,121 , do not rely on DCT motion compensation, and
                                                                   propose pattern marching to identify regions in the motion
         BACKGROUND OF THE INVENTION                             10 residual signal that have not been accurately reproduced and
                                                                   to correct them using a pattern library. But again, this
   The current methods of distributing multimedia data over approach          does not use MPEG4 video encoding.
the wireless Internet to mobile clients are constrained by ringtones on, cell
                                                                      Similarly   although Java decoders exist that play MP3
                                                                                      phones , no Java players are known that will
existing wireless bandwidth , and the real - time decoding,
processing and displaying of multimedia content with lim- 15 play       AAC
                                                                   targeted
                                                                              .
                                                                            more
                                                                                In fact, manycustomized
                                                                                   towards
                                                                                               of the newer  IDCT
                                                                                                          logic
                                                                                                                    algorithms
                                                                                                                chips that only
                                                                                                                                aredo
ited hardware capabilities . These hardware limitations IDCT ( composed of many simple pipelined instructions as
include slow CPUs , high memory latencies, slow drawing
capabilities and the absence of YUV to RGB conversion in opposed      Bit
                                                                             to a few more complex ones ).
                                                                          streaming  is the standard method of transmitting audio
the hardware .                                                  20 or video to cell phones over wireless networks. Streamed
   Video and audio playback exist on certain cell phone bits are buffered and then decoded or entire video files are
handsets, but this technology is embedded and takes advan downloaded or proportionately cached, or as in progressive,
tage of low - level hardware processing to enable the perfor http streaming downloading to a point where complete,
mance required for media playback . Through embedded continuous playback is deemed possible . In the case of
media   players, several cell phone handsets and handheld 25 wireless networks, bit streaming in terms of audio / video
computers can play either streamed video or audio . Popular content is usually is done over a non - reliable transport like
digital video encoding standards for some handsets are H263 UDP and requires a lot of error correction and duplication of
and MPEG4 . The audio codecs, MP3 , AMR and AAC , are content ( extra stream correction data ). Advances in these
also typically supported on some mobile handhelds . Newer transmission methods do propose more sophisticated means
video codecs , like H264 could be used for video transmis- 30 of reserved bandwidth , such as AROMA . Alternatives to
sion to cell phones , but would require clients systems with streaming methods have been proposed for the transmission
fast memory access for their motion compensation methods. of video as objects through pre - fetched lists Waese et al . ,
   Embedded streaming media players rely on firmware U.S. Pat . No. 6,286,031 , which are similar to downloading
integration to take advantage of the multitasking capabilities pre - fetched lists of SMIL objects, and instant or scheduled
of cell phone handsets . At the time of this writing, most cell 35 notification file downloading Stumm , U.S. Pat . No. 5,768 ,
phones cannot support multimedia playback because they 528. However, these do not address specific continuity and
are only capable of supporting one or a few concurrent deployment issues for wireless multimedia transmission and
processing threads. On handsets that have embedded media             concurrent playback on a limited -tasking cell phone hand
players, video is also limited to very low frame rates and the       sets.
bandwidth available for streaming in North America is low, 40 Streaming also requires client processing for significant
varying from 2-3 kybtes / second to ISDN speeds of 64 Kbits . error correction in video decoding, adaptive encoding for
European countries and Japan currently offer 3G network varying channel bitrates and in cellular networks . It also
connection speeds , varying from 64 kbits - 300 Kbits, and requires the use of cellular MMS multimedia protocol .
offer more technologically advanced cell phones with             The object of the current invention is to solve one or more
embedded media players that can achieve higher video 45 of the drawbacks in existing methods discussed above , or to
frame rates. For limited per usage periods and some , EV -DO provide other improvements to the art.
( Evolution Data Optimized) networks can also provide these
higher speeds over local CDMA networks.                                 SUMMARY OF THE INVENTION
   Decoders for complex video codecs which support highly
scalable MPEG4 video , and more complex, CD quality 50 The invention relates to wireless Internet multimedia
music , audio codecs like AAC , require multiple parallel transmission and wireless clients. In a first aspect the inven
processes and fast processing. Mathematical algorithms, as tion provides a method of efficient multimedia object cre
in Fan and Madisetti, designed for the high number of ation . In a second aspect the invention deployment addresses
floating point samples for higher end MPEG4 and AAC , the limitations of large - scale multimedia transmission on
which requires a sample rate approximately 36,000 floating 55 cellular networks to wireless clients. In a third aspect , the
point calculations / second , are intended to run on specialized invention relates to methods of decoding of video , suffi
chips. Even at lower and very low bitrates, where MPEG4 ciently optimized to be played on a limited wireless client.
is more efficient than its predecessors , MPEG4 software In a fourth aspect , the invention relates to methods of
players depend on PC multitasking or hardware APIs for decoding of audio , sufficiently optimized to be played on a
efficient processing to draw video frames.                      60 limited wireless client. In a fifth aspect , the limited mobile
   Currently, device independent Java (J2ME ) offers two handset multimedia object player, for both MPEG4 video
standard configurations on mobile clients. The Connected decoding and AAC audio decoding , is implemented as a
Limited Device Configuration ( CLDC) is prevalent in the device -hardware - independent java ( J2ME ) applet .
J2ME world , and powers cellular phones, pagers, PDAs , and          In its first aspect , the invention pertains to efficiently
other handheld devices. A variant of CLDC , Connected 65 transmittable multimedia object creation . A server -based
Device Configuration (CDC ) targets more powerful devices , transcoder, coupled with a multimedia object creator, inputs
such as home appliances, set - top boxes , and Internet TVs. a standard analog signal or alternative digital signal like
         Case 5:24-cv-03203-PHK Document 1-1 Filed 05/28/24 Page 26 of 34


                                                  US 10,771,849 B2
                             3                                                                 4
MPEG2 , and converts this signal into true MPEG4 /AAC servers may be at the same location , or they may be
multimedia objects. As multimedia objects they can then be geographically placed to support local mobile clients and
dynamically uploaded to multiple live content hosting web take advantage of alternative mobile network proxy servers
servers, which , through proximate mobile network proxy and proxy server object caching. The distribution of multi
servers, make live content accessible to mobile clients as 5 media objects to alternative content servers can take place
consecutive multimedia objects.                              on the wired Internet .
   The multimedia object creator produces discrete multi        In a third aspect , the invention provides novel optimiza
media objects from video and audio segments of a continu tions for digital video decoding. Some of these optimiza
ous stream . If the stream is MPEG4 , multimedia objects can tions can then be used by an expert assessment process ,
also be segments of multiple component video and audio 10 whereby, the decoder maintains a state information list of
streams. In the case of multiple MPEG4 component streams, short-cuts, related to perceived frame rate in a sorted list
per object segmentation and decoding can enable the com      starting with those that will decrease output quality the least ,
position of a single scene from several temporally -indepen  to those that will decrease output quality the most but have
dent multimedia objects. This provides the possibility of the most impact on decoding speed . The client player
decoding only a limited number of multimedia objects, and 15 decoder dynamically adjusts how many shortcuts must be
not all objects , to provide an object-based scalability .       taken . These short - cuts are specifically designed to drasti
  Multimedia objects are discrete, and also have distinctive     cally reduce the number of computations necessary cer
Internet addresses, and hence, the mobile client will have the tain critical steps in the video decoding process at the cost
opportunity to interact with any given media sequence on a video output quality. This allows the video decoder to scale
per  object basis . In cases where the multimedia object 20 in complexity based on the processing power of the device
sequence is being transcoded from a live stream , a window being used . It also allows users to experience multimedia
of multimedia objects is made available on the host server. playback despite the limitations of the device they may be
This window would be comprised of a number of recently using
created multimedia objects. To minimize delays that will          In a fourth aspect , the invention pertains to decoding
occur to maintain synchronicity between the client and 25 audio on a limited mobile device . Mobile devices present
server , a larger multimedia object window can be dynami         many challenges for audio playback. Typical mobile pro
cally created on the host server.                                cessors have integer math only, little or no on - CPU cache ,
   In cases where the media object sequence has been             and a limited audio output interface . The present invention
previously transcoded and resides on the host as a non -live    takes several approaches to getting maximum audio quality
source, each object is numerically ordered. The transport 30 out of these very limited devices , which are applicable to
mechanism for the multimedia objects is assumed to be other audio codecs such as AC3 , AMR and WMA v9 , as well
HTTP for the purposes of illustration , however, other pro      as AAC LC . These include a novel use of Huffman code
tocols which access content through file and directory struc books , a highly optimized IMDCT process , and innovative
tures could be used . For example FTP, IMAP4 and NNTP all windowing optimizations.
have the capability to serve files in a directory structure . 35 One of the serious limitations of mobile devices is their
   On the client side , the number of multimedia objects that inability to play continuous sound . There is no way to play
can be buffered in memory is based on the size of the first a long sound without gaps which occur when switching from
multimedia object The amount of free memory available and one block of sound to the next block of sound . The proposed
the processing of further multimedia objects in the sequence invention also solves this gapping problem by intelligent
can be optional and dependent on whether the implementa- 40 placement of the gaps . A frame of low total energy is
tion allows the modification of object parameters between selected, and the playback is controlled so that the gap will
multimedia objects ( such as the size of the visual frame or occur during that frame. The low - energy frame may be
the sample rate of the audio stream ). The buffering and dropped so that synchronization is not lost .
playback of multimedia objects in a synchronized fashion is         In a fifth aspect , the invention pertains to the implemen
critical to fluid playback .                                  45 tation of a mobile handset MPEG4 video and AAC audio
   The wireless networks over which the limited devices player that is hardware - independent and operating system
operate often have a very high latency . The HTTP 1.1 independent, and can simply be downloaded prior to media
protocol and some implementations of HTTP 1.0 allow the playback on mobile clients that do not have embedded
use of a persistent connection over TCP to perform multiple media players . Hardware and operating system indepen
requests. Furthermore, some HTTP 1.1 implementations 50 dence are characteristics of Java applets, but Java cannot
allow the use of pipelined connections allowing the HTTP take advantage of hardware capabilities in processing the
client to perform many requests in rapid succession decreas huge number of calculations and variables required for
ing the latency between the request and reception of each either MPEG4 decoding or AAC decoding on limited pro
multimedia object. When possible , the invention can take cessing mobile handset. Hence , the required optimizations
advantage of this capability.                                 55 for Java itself, to permit the playback of AAC and MPEG4
   In its second aspect , the invention pertains to multimedia on current mobile client hardware, are a source of techno
object deployment to large numbers widely distributed wire logical innovation and advance .
less Internet clients . Media content converted to multimedia
objects must be available to many users and the distribution        BRIEF DESCRIPTION OF THE DRAWINGS
system must be sufficiently robust to allow peaks in demand 60
and have sufficient geographic proximity that network con        For a better understanding of the present invention and to
gestion and latency are reduced .                              show more clearly how it may be carried into effect,
   In this second aspect , and in the case of live content reference will now be made , by way of example, to the
transcoding from a live audio / video stream , the transcoding accompanying drawings which show the preferred embodi
of input media formats and the creation multimedia objects 65 ment of the present invention and in which :
is done in real- time and immediately deployed to every          FIG . 1 is a general diagram for a distributed network
content server of the distributed system . These content system for multimedia -on -demand, utilizing a centralized
         Case 5:24-cv-03203-PHK Document 1-1 Filed 05/28/24 Page 27 of 34


                                                   US 10,771,849 B2
                              5                                                                 6
content server, indexing host , Multimedia object creator and    FIG . 17 illustrates simplified input short - cut processes
transcoder for live broadcast applications or to transcode andspecific to AAC Low Complexity ( LC ) audio decoding
create multimedia objects from archived multimedia files, profile used by the multimedia object players of FIG . 1 ; and
and distributed content servers involving high capacity          FIG . 18 shows audio decoding using an alternative bit
cellular network proxy servers and mobile clients running 5 operation based Taylor computation method used by the
downloaded Java applets or embedded or downloaded non             multimedia object players of FIG . 1 ; and
java multimedia object players; and                                 FIG . 19 illustrates further IMDCT short window process
   FIG . 2 is a flow diagram illustrating a multimedia object     ing for digital audio decoding for the method used by the
identification method by the multimedia object creator of multimedia object players of FIG . 1 ; and
FIG . 1 for mobile clients by the host content server of FIG . 10 FIG . 20 illustrates low energy gap timing in audio play
1 ; and                                                          back for the method of audio decoding used by the multi
  FIG . 3 illustrates a multimedia object windowing               media object players of FIG . 1 .
sequence for a live transmission of multimedia objects                       DETAILED DESCRIPTION OF THE
created by the multimedia object creator of FIG . 1 ; and 15
  FIG . 3a illustrates multimedia object creation for single                   PREFERRED EMBODIMENT
stream multimedia , just audio and multi -stream MPEG4
composite layers by the multimedia object creator of FIG . 1 ;       FIG . 1 illustrates a centralized content server system 1 ,
and                                                              utilizing a transcoder 2 and a multimedia object creator 3 to
   FIG . 4 is a flow diagram illustrating the steps of multi- 20 create, multimedia objects from a live broadcast 4 or to
media object processing by the multimedia object players of transcode and create multimedia objects from archived
FIG . 1 ; and                                                    multimedia files 5. The central server includes an indexing
   FIG . 5 is a diagram illustrating the architecture and host system 6 to deploy created multimedia objects to
processing interaction for the large scale distribution of live relevant content servers 7 through the wired Internet and to
and archived multimedia content in the distributed network 25 verify all geographically dispersed wireless clients 8. The
being managed by the indexing host of FIG . 1 , involving system includes the potential use of proxy cellular network
remote transcoding /multimedia object creating servers and a http servers 9 , which can cache large numbers of small
central indexing host server, and                                multimedia objects to support large numbers of concurrent
   FIG . 6 is general diagram illustrating standard MPEG4 wireless clients 8 running multimedia object java applets 10
Simple Profile decoding steps which are followed in general 30 or embedded or downloaded non -java multimedia players
for video decoding by the multimedia object players of FIG .      11 .
1 ; and                                                               FIG . 2 is a flow diagram illustrating the process of
   FIG . 7 is a flow diagram illustrating an optimized Huff multimedia object identification by the multimedia object
man codebook method for digital video decoding method creator 3. This process encodes a Supplied Identification to
used by the multimedia object players of FIG . 1 ; and          35 each multimedia object to identify the transport protocol,
   FIG . 8 is a flow diagram illustrating a method of using a source host , path and number of objects of a particular
texture buffer to process P - frames for digital video decod       multimedia stream .
ing; and                                                              The host directory name of the multimedia objects is
   FIG . 9 is a flow diagram showing a method of video formatted to contain the number of video objects located
decoding performing faster motion compensation without 40 within the directory. An delimiting character is placed
bilinear interpolation when less quality but faster processing between the end of the directory name and the number
is required that is used by the multimedia object players of indicating the multimedia object count. This allows the use
FIG . 1 ; and                                                      of directory names terminating in numbers while indicating
   FIG . 10 is a flow diagram illustrating an optimized digital an unambiguous multimedia object count e.g.
video decoding method for optimizations in pixel processing 45 StarWars_1.mp4, StarWars_2.mp4 , etc.
and dequantization used by the multimedia object players of           Multimedia objects within the directory are named simi
FIG . 1 ; and                                                      larly to directory name . However, instead of the multimedia
   FIG . 11 is a flow diagram illustrating a novel use of count following the delimiting character, a number indicat
Chen’s algorithm used by the multimedia object players of ing the multimedia object's position within the sequence of
FIG . 1 ; and                                                   50 multimedia object is specified . The following is an example:
   FIG . 12 is a flow diagram showing a novel handling YUV            Supplied Identification for MultimediaObjects:
to RGB conversion used by the multimedia object players of < transport > : // < host > / < path > /
FIG . 1 ; and                                                         <MOSName>DelimxMOCount >
   FIG . 13 is a flow diagram illustrating decoding short cuts        Computed Identification for each multimedia object based
for effective video decoding on variable limited mobile 55 on Supplied Identification :
client hardware used by the multimedia object players of SuppliedID > /
FIG . 1 ; and                                                         <MOSName> . <MOSeqNum > < Delim > <MOType >
   FIG . 14 is a general diagram illustrating basic steps of the < transport > : protocol used to transmit multimedia objects
AAC digital audio decoding and other similar audio codec              < host > : Host content servers 1 or 7 serving the multime
decoding, which are followed in general by the multimedia 60             dia objects directly to mobile clients 8
object players of FIG . 1 ; and                                       < path >: Path to the multimedia object directory
   FIG . 15 is a flow diagram illustrating an optimized               < MOSName >: Name of the multimedia object sequence
Huffman codebook method for digital audio decoding used               ( perhaps the name of a broadcast)
by the multimedia object players of FIG . 1 ; and                     <MOCount > : Number of multimedia objects ( Integer
   FIG . 16 is a flow diagram illustrating an optimized digital 65       greater than zero )
audio decoding method for optimizations in the IMDCT step             <MOSeqNum >: The multimedia object's sequence num
used by the multimedia object players of FIG . 1 ; and                   ber
         Case 5:24-cv-03203-PHK Document 1-1 Filed 05/28/24 Page 28 of 34


                                                   US 10,771,849 B2
                              7                                                                  8
  (Integer greater then zero , less then or equal to MOCount) is made to correspond to the video segmentation 14. In the
  <Delim> : The delimiting character                          case of multiple MPEG4 component streams 16 , multiple
   <MOType > : encoding type e.g. mp4                         video and / or audio composite layers can also be split into
   When multimedia has been transcoded from a non - live multimedia objects at l - frames 13. In the case of just audio
source , the first multimedia object in the sequence to be 5 signal input 12a , the transcoded audio can be analog , or
played could have the index 0 of a counting series . In cases digital codecs , AMR , MP3 , RealAudio or higher rate
where the multimedia object sequence is being transcoded encoded AAC and then split into specified intervals 13a .
by the multimedia object creator 3 from a live stream , a
window of multimedia objects is made available on all of FIG         . 4 is a flow diagram illustrating client side processing
                                                                  multimedia    objects. Multimedia object player 10 or 11
content servers 1 and 7. This window would be comprised 10 processing is initiated
of a number of recently created multimedia objects object from a content byserver           the receipt of the first multimedia
                                                                                                 1 or 7. The first multimedia
transcoded from the live stream .
                                                              object's  Identification   is
   The window of multimedia objects allows clients to begin multimedia objects stored within parsed  and the total number of
reception of a multimedia object sequence at an earlier point                                            the Indentification's
than the most recently created multimedia object. This 15 applications
                                                               <path> is determined
                                                                            , the number, orof multimedia
                                                                                               the case ofobjects
                                                                                                             live transmission
                                                                                                                     in window .
mechanism provides an extra degree of forgiveness in high
latency situations, where there may be a delay between the Hence, heap memory allocations for the multimedia objects
client 8 discovering the most recent multimedia object and and meta -data can then be determined . These allocations are
the actual request.                                           created of sufficient size that multimedia objects that follow
   The window of multimedia objects would shift as more 20 can verwrite older multimedia objects in the same memory
multimedia objects are transmitted from the live source . The allocation without overflowing.
multimedia object sequences would begin at 0 and be              Depending on the amount of heap memory available on
numbered sequentially . The window size hence permits the the device , several sets of memory allocations can be made
removal of earlier objects.                                   to store multiple multimedia objects at once . This constitutes
   For example, a live stream may be made comprised of a 25 a multimedia object buffer and allows the decoder to be
window of four objects . Upon transmission of a fifth video playing one multimedia object while the next has not yet
object, the first multimedia object would be deleted , result fully completed reception. A device must have enough
ing in the following sequence illustrated in FIG . 3 .
   The wireless client 8 can have the capability to search memory to allow two multimedia objects to be stored in the
                                                              heap at once , otherwise the behavior is undefined ( the
forward in the multimedia object sequence among   the mul-
timedia video objects in window . This provides additional
                                                           30 decoder may refuse to play the multimedia object sequence ,
transmission continuity in cases where it is not possible to or       play it with extended pauses between each multimedia
                                                                   object  ). Important state information is stored in several
maintain sufficient bandwidth for all multimedia objects in variables         . This information includes the Integer values :
the live sequence .
    To reduce delays that will occur to maintain synchronicity 35 nMObjectPlaying
                                                                         playing
                                                                                          — current Multimedia Object index
between the client 8 and server 1 or 7 , a larger multimedia          nMObjectRecving current Multimedia Object index
object window can be used . Likewise, the mobile client 8
may also store more than two multimedia objects in the                   being received and Boolean value ( s ) :
internal buffer. Moreover, wireless networks over which the           bWaitForBuffer — Indicates to the Playback component
limited devices operate often have a very high latency. This 40          that it should way until buffering of further multimedia
is especially evident when TCP's 3 -way handshake must be                objects is complete
performed for every connection that is made . It is therefore         This state information provides a mechanism with which
ideal to use an application protocol that is able to minimize the reception and playback of multimedia objects can be
the latency between each request for a multimedia object.          synchronized .
    The transport mechanism for multimedia objects is 45 The multimedia object contains information required to
assumed to be HTTP for the purposes of system FIG . 1 , properly configure the audio and video decoders, and this
however, other protocols which access content through file information is passed to the respective decoder.
and directory structures could be used . For example FTP,             After configuring the audio and / or video decoding com
IMAP4 and NNTP all have the capability to serve files in a ponents of the multimedia object player, the object player
directory structure . HTTP 1.1 protocol and some implemen- 50 may choose to either delay playback until the multimedia
tations of HTTP 1.0 allow the use of a persistent connection object buffers in memory have filled or may begin playback
over TCP to perform multiple requests . Furthermore, some immediately while requesting the next multimedia object
HTTP 1.1 implementations allow the use of pipelined con            concurrently. This decision can be based on the speed at
nections , allowing the HTTP client to perform many which the multimedia objects are retrieved versus the play
requests in rapid succession decreasing the latency between 55 back time of each multimedia object, the latency of requests
the request and reception of each multimedia object.               for multimedia objects or the number of multimedia objects
    In FIG . 3a , the transcoder 2 and multimedia object creator that can be stored in memory at once .
3 create multimedia objects of an optimal digital encoding            Following the reception and parsing of the first multime
such as MPEG4 / AAC from analog multimedia or an alter             dia , its audio And /or video content are hence parsed and
native codec stream 12 , such as MPEG1 , MPEG2 , MOV, 60 played back . In the audio and / or video content of the first
AVI, WMV, ASF, and higher encoded MPEG4 . First , the and every subsequent multimedia object, the approach taken
input stream is transcoded into MPEG4 and AAC and then is to decode sufficient audio frames that their total duration
it is split according to a specified interval, such as 10 is as long as the display time of the associated video frame
seconds, into multimedia objects. The video component of and processing time of the next audio frame. By interleaving
the stream is scanned after the specified interval for the next 65 the processing between several audio frames and a single
I - frame 13 , where the split is made . Since typically there are video frame, the decoder can perform both audio and video
no predicted frames in digitized audio 15 , a conditional split decoding in a single thread .
         Case 5:24-cv-03203-PHK Document 1-1 Filed 05/28/24 Page 29 of 34


                                                    US 10,771,849 B2
                              9                                                                   10
   The retrieval and playback of multimedia objects contin       decoding process is composed of three major sections :
ues until the last multimedia object in the sequence has been shape, motion , and texture decoding.
completely retrieved and its playback has finished .               Coded Bit Streams: The video stream is parsed and
   The state information described also provides a mecha demultiplexed to obtain shape , motion, and texture bit
nism which can be used to skip backwards and forwards 5 streams. Each stream has a decoding process needed in order
through the multimedia object sequence . By changing the to Shape   reconstruct the VOPs .
                                                                             Decoding: Binary shape decoding is based on a
state information and restarting the retrieval of multimedia
objects, the playback of the objects can be repositioned to      block - based representation. The primary coding methods are
any multimedia object in the sequence.                           block - based  context-based binary arithmetic decoding and
   In FIG . 5 , a large scale “ live content " application is 10 block - based motion compensation .
                                                                   Variable Length Decoding : Shape information , motion
illustrated . A central server indexing host 17 manages all of vectors    , and the quantized DCT coefficients are encoded
the available content and the content servers 7 through using variable            length codes .
which the content is made available . Remote transcoding               Differential DC coefficients in intra macroblocks are
and  multimedia object creating servers 18 that provide 15 encoded as variable length codes . The final DC value is the
continuously updated content must register this content with     sum of the differential DC value and the predicted value . The
the indexing host 18. The transcoding servers 18 must also AC coefficients and non - intra block DC coefficients use a
keep the central indexing server 17 updated with the latest different variable length code .
multimedia object sequence indices , to allow distributed           Inverse Scan : Coefficients are scanned during the encod
wireless clients 8 to begin playback of any live content with 20 ing process for two reason to allocate more bits to high
minimal delay.                                                   energy DCT coefficients during quantization and to turn the
   The URLs of any content servers supporting a particular two dimensional array ( 8x8 ) into a one dimensional array .
broadcast would be pre - registered in a table on the indexing The reverse process ( i.e. inverse scan ) is used on the
server 17 .                                                      decoding size to ensure proper dequantization and to restore
   Content servers 7 accept and store live content being 25 the two dimensional information . There are three types of
transmitted from transcoding servers 18. They can also store scans used ; Alternate - Horizontal scan , Alternate - Vertical
non- live archive multimedia content, but in a live content scan, and the Zigzag scan . The type of scan used during the
type application , they need only cache the most current decoding process will depend on the type of coefficients
window of multimedia objects .                                   being decoded .
   Content servers 7 are distributed in such a fashion that 30 Inverse AC and DC Prediction : The prediction process is
allows wireless clients 8 a fast and low latency host con        only carried out for intra macro blocks . Previous intra macro
nection . Content servers 7 could all be connected in a LAN , blocks are used for forward prediction in order produce
but for large scale operations, they could have any distri subsequent macro blocks . This optimization process is used
bution on the wired Internet. The wireless client 8 can to predict both DC and AC coefficients .
receive the content directly 19 from a content server 7 or 35 Inverse Quantization : The two - dimensional array of coef
indirectly 20 through a cellular network proxy server 9 .        ficients produced by the inverse scan is inverse quantized to
   The central indexing host 17 accepts requests from clients produce the reconstructed DCT coefficients . The process is
8 for multimedia content 21. The indexing host 17 must trivial; it is basically a multiplication by the quantizer step
reply with the most suitable content server 7 for the client 8 . size . A variable quantizer step size can be produced by using
This can either be done in a round - robin fashion or other 40 a weighted matrix or a scale factor in order to variably
factors can be included such as the location of the client 8 allocate bits during the encoding/decoding process .
relative to available content servers 7. Other information       Inverse DCT ( IDCT ) : An inverse DCT is applied in order
such as the server load and network congestion of each to recover the VOP from the frequency domain ( i.e. DCT
content server 7 can be taken into account.                      coefficients ) into the spatial domain ( i.e. pixel values ) . Note
   The central indexing host 17 also authenticates 22 clients 45 that in the texture decoding process, the luminance and
8 as they request available content and specific pieces of chrominance components of the VOP (i.e. Y , Cb , Cr com
content. The authentication process is designed in such a ponents ) are quantized at different rates in order to reach a
way that the content servers 7 do not need to maintain a list higher compression rate (which is the powerful aspect of the
of authorized clients 8 and the content available to them . DCT transform when used in compression ).
Instead the indexing host 17 authenticates the client 8 and 50 Motion Decoding and Compensation: Motion compensa
provides the client 8 with an encrypted string that is even      tion is another technique used to achieve high compression .
tually decrypted by the content server 7. This string is the The algorithm used by MPEG - 4 is block - based motion
encrypted form of the catenation of the content name or compensation to reduce the temporal redundancy between
description, and the current UTC date - time and an interval VOPs . Motion compensation in this case is two fold : if is
of time for which the client 8 is authorized to access the 55 used to predict current VOP from previous VOP, and to
multimedia content. The string is designed to allow the interpolate prediction from past and future VOPs in order to
client 8 to access and playback multimedia objects received predict bi - directional VOPs . Motion vectors must be
from a designated content server 7 .                             decoded to predict movement of shapes and macroblocks
   The indexing host 17 may also provide the client 8 with from one VOP to the next . Motion vectors are defined for
other information about the multimedia content, along with 60 8x8 or 16x16 regions of a VOP.
the encryption string, such as a description of the source,         As exemplified by MPEG4 Simple Profile decoding dia
copyrights , and subtitle data - sources.                        gram FIG . 6 , but common to other video codecs , two types
  FIG . 6 illustrates MPEG4 video decoding process as of Video Object Planes (VOP ) are handled in digital video
outlined by the MPEG - 4 Committee for recovering video decoding. Video streams must begin with a frame that makes
object planes (VOPs) data from the coded bit stream . These 65 no temporal reference to any earlier frames or an Intra
steps of video decoding are followed in general by the video Frame ( I -Frame ). A second type of VOP that allows tem
decoding process of multimedia players 10 and 11. The poral reference to the previous frame in the stream are
         Case 5:24-cv-03203-PHK Document 1-1 Filed 05/28/24 Page 30 of 34


                                                    US 10,771,849 B2
                              11                                                                  12
known as Predicted Frames ( P - Frames ). Macroblocks within         amount of reading from and writing to non - consecutive
P - Frames may contain motion vectors to enable motion               bytes within the reference and output video frames . All pixel
correction from the previous frame. These macroblocks                residues are applied to the texture buffer which is then
often contain pixel residue information which includes cor copied to the output frame. This method of processing
rections to the predicted pixels.                            5 P - frames is optimal in situations where the main processing
    Motion compensation must occur for many of the mac unit has sufficient cache to store the texture information of
roblocks within P -Frames and is a critical component of any the entire Macroblock . In cases where the limited device has
video decoding mechanism . Motion vectors can be com           very little or no on - die cache , it may be preferable to avoid
pressed using Huffman codes . These are binary Variable using a macroblock texture buffer. Also , macroblocks with
Length Codes (VLC ) which represent values occurring with 10 motion vector information contain pixel residue values that
high probability with shorter binary length than values are often distributed in a much smaller range of values than
which occur with less probability. The rapid decoding of the pixels of a texture . In cases where the device is unable
VLCs is critical to any decoding application on constrained to decode the video stream in real - time , a faster but less
devices. The video decoding process operating on the mul accurate IDCT algorithm can be used to process these
timedia object players 10 and 11 , decodes these VLCs in a 15 residue values . Furthermore, to minimize the effect of the
novel use of Huffman codebooks .                              less accurate IDCT algorithm , this step is taken first on
  Theoretical Huffman codebook process reads bits from chrominance pixel residues, but can also occur for lumi
the packet bitstream until the accumulated bits match a        nance pixel residues as required .
codeword in the codebook . This process can be thought of        The motion vector information associated with a macro
as logically walking the Huffman decode tree by reading one 20 block often references a point between pixels on the refer
bit at a time from the bitstream , and using the bit as a ence VOP. This requires that decoders perform bilinear
decision Boolean to take the 0 branch ( left side ) or the 1 interpolation between pixels . This is a time consuming
branch ( right side ) . Walking this binary tree finishes when process requiring the sampling of four source pixels , four
the decoding process hits a leaf in the decision tree the additions and a single divide operation for every output
result is the entry number corresponding to that leaf. Read- 25 pixel . In addition to various arithmetic optimizations per
ing past the end of a packet propagates the end - of - stream ’ formed the video decoding process of the multimedia object
condition to a decoder.                                              players 10 and 11 , shown in the flow diagram of FIG.9, uses
   The novel approach taken to decode VLCs by the video faster motion compensation without bilinear interpolation
decoding process operating on the multimedia object players when less quality but faster processing is required .
10 and 11 , is illustrated in FIG . 7 , and can be precisely 30 Digital video codecs define Luminance and Chrominance
described as follows:                                                values within a given subrange of values , MPEG4 uses [ 0 ,
   Bits are read off the stream into an integer buffer ( N ). The 255 ] . This allows the decoding software to store the Lumi
      number of bits read is equivalent to the length of the nance and Chrominance pixels within a single byte of data
      longest code in the VLC codebook . The roof of loga with the correct precision. However, during the decoding
      rithm ( base 2 ) of N is taken . Based on the result , N is 35 process, values outside the [ 0,255 ] are often generated
      shifted and used as an index into an array containing the during motion compensation and in the inverse DCT steps.
      true value indicated in the codebook and the true length Attempting to store values outside this range results in a
      of the code . The number of bits indicated as the true single byte overflows causing graphical errors in the final
      length is then removed from the video stream and video output. Clipping these values and modifications to the
      processing continues. An example is provided:               40 dequantization process can be very time consuming and can
   Table B - 7 of the MPEG4 Standard (Conf. [ 1 ] ) contains result in decrease of output correctness .
      the Code /Value ( s) pair :                                       FIG . 10 is a flow diagram illustrating novel optimization
   Code : 0000 0101 Values MBType: 2 CBPC : Ob11                     for the dequantization step of digital video decoding in the
   The maximum length of a code in Table B - 7 is 9. The multimedia object players 10 and 11. The novel optimization
above code would be read off the bit stream as (N : =) 0000 45 requires the a reduction in pixel accuracy but allows values
0101X (where X is a ' Do Not Care' bit) . The roof of outside the range [ 0 , 255 ] to be represented in a byte field
logarithm (base 2 ) of N is found to be The value 4 is then without an overflow . Through analysis of various video
used to identify the array in which N is used as an index to samples, it has been found that the range [ -128 , 383 ] is
locate the appropriate decoded value . N can also be shifted sufficient to store nearly all potential resulting Luminance
to remove irrelevant bits allowing the lookup array to be 50 and Chrominance pixel values . By taking the original pixel
smaller.                                                             value , adding 128 to it and dividing the result by two , values
   This novel approach provides a very low time complexity in the [ -128 , 383 ] may be represented in the [ 0 , 255 ] with
and due to the nature of Huffman codes , a great majority of a decrease in accuracy of 50 % .
codes can be decoded with the first few tables providing a              This decrease in luminance and chrominance accuracy is
greater cache hit ratio.                                          55 not a factor on many limited devices as the RGB color
   Following the reading and processing of motion vectors resolution is often in the 4 - bit to 18 -bit range . As an example
off the video stream , motion correction must take place . Due an input pixel (nInputPixel) in the range [ -128 , 383 ] is
to the high latency of memory often used in constrained converted into the alternate format for storing in a byte field
devices, random memory access and non -contiguous (nbOutputPixel ): byte nbOutputPixel = (nInputPixel + 128 )/ 2.
memory access must be minimized . FIG . 8 is a flow dia- 60 One of the most processing intensive steps of the decod
gram , describing video decoding process in the multimedia ing process occurs during the IDCT step. The use of an
object players 10 and 11 , which illustrates that a texture effective integer -based algorithm is an absolute requirement
buffer large enough to contain 4 luminance and 2 chromi when the decoding occurs on constrained devices. The
nance blocks ( the dimensions of a macroblock exemplified Chen's IDCT algorithm is optimized , but the processing
in the MPEG4 specification) is used to store the predicted 65 time consumed by the standard Chen implementation is to
pixels from a reference frame. This texture buffer is much great for real - time decoding on limited devices. Hence , FIG .
smaller then the original video frame and decreases the              11 is a flow diagram illustrating a novel use of Chen's
         Case 5:24-cv-03203-PHK Document 1-1 Filed 05/28/24 Page 31 of 34


                                                  US 10,771,849 B2
                            13                                                                14
algorithm in the multimedia object players 10 and 11. Here designed to drastically reduce the number of computations
several different simplified versions of Chen’s algorithm be necessary at certain critical steps in the video decoding
implemented, based on the energy or distribution of input process at the cost video output quality . This mechanism
DC and AC coefficients. This can result in reduced video allows video decoding to scale in complexity based on the
output quality, but the effect is mitigated by giving a 5 processing power of the device being used .
higher - quality preference to luminance blocks . Reduced      It has been found that three quality levels tests at each
color definition is often not as noticeable on constrained critical step appear to yield the best results. The highest
devices, and allows the chrominance blocks to be decoded quality is consistent with the video codec specification and
with less precision. The IDCT process can be further opti displays a correct image . A medium quality level indicates
mized by recording which rows of the input matrix to the 10 that certain time consuming short - cuts are made with some
IDCT are populated with values . This same mechanism can impact on image quality. A low quality level indicates that
be used to ignore certain input values of insufficient energy drastic reductions in display quality are made to improve
to make a very noticeable impact on the output image and processing time — the output video can be unrecognizable at
further decrease processing time .                            times and as a result this level is used only in drastic cases
   In a limited device, the memory access required in the 15 of a sudden drop in processor availability.
YUV to RGB conversion process can be sufficiently long to         A final option exists is to avoid the processing and
consume more time then any other step in the video decod displaying of some or all P - Frames . This is only an option
ing process . The video decoding process in the multimedia in video streams where I -Frames occur at regular intervals.
object players 10 and 11 uses a further step of scaling to Given the wide variety of processing capabilities in limited
reduce this processing, as the display size is often not the 20 devices, this implementation strongly suggests the creation
exact size of the video output. The YUV to RGB conversion of multimedia objects from video streams with transcoder 2
and scaling steps can be combined into a single step to specifying very regular I - Frames so that devices of very
decrease memory access and increase the speed of video limited processing power are able to provide the client 8
output. Several YUV to RGB functions are available pro          with occasional frame changes.
viding decoding times of varying speeds and quality as well 25 The state information is composed of a series of integers
as scaling ranges. FIG . 12 is a flow diagram showing video correspond to various steps in the decoding process and
decoding of the YUV to RGB step in the in the multimedia define the quality at which the decoder should perform
object players 10 and 11 , as follows:                          several steps . The implemented system in the multimedia
   1 ) Separate YUV to RGB and scaling functions for cases players 10 and 11 consists of six of these integers:
where scaling up is required and where scaling down is 30 nYUVORGB Quality Quality of the YUV to RGB con
required. Distinct optimizations are available for each              version process
method and added speed can be attained by separating the          nLumalDCTQuality - Quality of the Inverse DCT func
functionality between several different functions.                   tion for Luminance blocks
   2 ) When scaling up is required , a minimum amount of          nChromaIDCTQuality Quality of the Inverse DCT
reading from the source Luminance and Chrominance 35                   function for Chrominance blocks
planes is desired . This is accomplished by iterating through       nLumaMCQuality Quality of motion compensation for
pixels in the source plane. A fixed number of Luminance and            Luminance blocks
Chrominance values in a column are read and the resulting        nChromaMCQuality Quality of motion compensation
RGB values computed for each pixel position . The pixel             for Chrominance blocks
values are then copied in a looping fashion first by column, 40  nFrameRateQuality - Defines the allowance to drop
then by row to the output plane. This provides a way to read        frames ( from a single P - Frame occurring before an
a single input value which may result in many output values         I - Frame up to dropping all P - Frames )
in the output plane when scaling up .                            In addition to the set of integers defining the actual quality
   3 ) Similarly, when scaling down is required a minimum at various steps, a single integer representing the current
amount of reading from the source Luminance and Chromi- 45 quality level of the overall decoding is used (named nVideo
nance planes is desired . This is accomplished by iterating Quality in this instance ). Each step quality has a very limited
through pixel positions in the output plane and calculating number of possibilities (HIGH , MEDIUM , LOW , etc ) , how
the source pixel in the input plane. This provides a way to ever, nVideo Quality can take on many values . At each value
read a single input value for every output value and mini of nVideo Quality , a ruleset defines quality of each of the
mizes the number of input -plain reads that are necessary. 50 above step qualities. At the highest value of nVideo Quality,
   4 ) The YUV to RGB conversion step is such a time all step qualities are set to maximum . As an nVideo Quality
consuming one that methods of improving the speed of is decreased , the step qualities are incrementally reduced
computation at the expense of output quality have been according to the ruleset.
implemented. Improvements in speed can be obtained by             Some states of quality levels are less preferable to others .
sampling only a subset of the chrominance pixels , avoiding 55 For example, it is not preferable to render many frames at the
pixel clipping or calculating the Red and Blue values for lowest quality setting of nLuminaIDCTQuality — it is
only a subset of output pixels . All of these methods are used instead more preferable to drop frames if there is insufficient
together to provide several quality levels in the YUV to RGB processing capability to perform nLumalDCTQuality at a
step .                                                         higher quality. The ruleset is designed to take these possi
   Hence, FIG . 13 is a flow diagram summarizing the 60 bilities into account.
short - cut optimization processing by the video decoding        FIG . 14 illustrates the general steps of audio decoding
process used in the multimedia objects players 10 and 11 . followed by the audio decoding process of the multimedia
State information is maintained about the quality levels with object players 10 and 11 .
which the current video stream is processed. On very limited     The first step in AAC audio decoding ( bit -stream de
devices short- cuts in the decoding process must be made to 65 multiplexing ), which is common to other digital codecs, is to
allow the device to maintain synchronicity between the establish frame alignment. This involves finding the AAC
audio and video playback . These short - cuts are specifically sync word and confirming that the AAC frame does not
             Case 5:24-cv-03203-PHK Document 1-1 Filed 05/28/24 Page 32 of 34


                                                               US 10,771,849 B2
                                    15                                                                                16
contain any errors , if error checking is enabled in the frame.       This method produces a simplified IMDCT algorithm
Once the frame sync is found, the bitstream is de -multi           with O ( n * log ( n ) runtime. This method can also incorporate
plexed or unpacked. This includes unpacking of the Huff            the use of various IFFT algorithms based on the sparseness
man decoded and quantized scale factors , the M / S synthesis      of input.
side information , the intensity stereo side information , the 5 The following the steps describe the implementation :
TNS coefficients, the filter bank side information and the            [ 0 ] The IMDCT algorithm accepts an input array X of
gain control words .                                               spectral coefficients in the frequency domain and outputs an
   Next the quantized spectral coefficients are Huffman
decoded . Each coefficient must be inverse quantized by a 4/3 array         of amplitude values in the time domain twice the size
power nonlinearity and then scaled by the quantizer step 10 plexity input
                                                                   of  the         . The implementation of the AAC Low Com
                                                                               codec requires that the IMDCT algorithm accept
size .
   The Huffman codebooks used to decode digital audio in input              array lengths of 128 or 1024 Real values and results in
the multimedia object players 10 and 11 of FIG . 1 , are very N refers toof 256
                                                                   an  output
                                                                                    the
                                                                                           or 2048 Real values . In the following steps ,
                                                                                           size of the output ( 256 or 2048 ) , Im (X )
different from those used for digital video , but they are very returns the imaginary
similar to Huffman codebooks used in other digital audio 15 Re( X ) returns the real component    component   .
                                                                                                               of some variable and
codecs . A novel simplification of variable length fields             [ 1 ] The ( N / 2 ) input spectral coefficients are converted into
( VLCs ), used in audio decoding by the multimedia object complex
players 10 and 11 , is illustrated in FIG . 15 , that allows the There arenumbers            and stored into an array C of size ( N / 4 ).
                                                                                   many approaches to this step , however, the
decoding of a single VLC value with a single array lookup . approach taken                in the described implementation pairs coef
The novel approach taken is as follows:                         20
   Bits are read off the stream into an integer N. The number and one becomingcoefficient
                                                                   ficients    with  one                becoming the real component
                                                                                              the imaginary component of a complex
of bits read is equivalent to the maximum number of bits in number            . The following pseudo code describes this step :
the longest codeword in the codebook . The first binary O is
then located starting from the highest bit . The left -based
index of this first 0 is then used to remove out all the 25                for ( n = 0 ; n < N / 4 ; n ++ ) {
previous 1s and N is shifted and used as an array Index .                        Re ( C [ n ]) = X [ N / 2 – 2 * n ] ;
   For example, the AAC standard's 2nd Codebook contains                         Im ( C [n ] ) = X [n ] ;
the Code / Value pair:                                                     }
Code : 11110110 , Value: 77
   The maximum length of a code in the 2nd table is 9 so 30 [ 2 ] This result is then multiplied with scaled complex
when read from the BitStream the above code would appear numbers on the unit circle yielding an array of size N / 4 . This
as :
11110110X (Where X is a “ Do Not Care” bit )
                                                                                  step is described with the following pseudo code :
   The Zero Position of the above integer is found to be 4 .
The ZeroPosition is then used to mask off the 1 bits previous 35        for ( n = 0 ; n < N / 4 ; n ++ ) {
to it yielding the integer “ 0101X ” . This can then be used as               Re ( Z ) = SQRT ( 2 / N ) * cos (2 * Pi * (n + 1/8 ) / N)
                                                                              Im ( Z ) = SQRT ( 2 / N ) * sin ( 2 * Pi * ( n + 1/8 ) / N)
an index to an array or be shifted to remove the irrelevant                   Re ( C [n ]) = Re ( C [ n ]) * Re ( Z ) - Im ( C [ n ]) * Im ( Z );
bits allowing the lookup array to be smaller.                                 Im ( C [ n ]) = Re ( C [n ]) * Im (Z ) + Im ( C [ n ]) * Re ( Z );
   The next standard audio decoding step , M/ S synthesis ,             }
conditionally dematrixes two channels into a stereo pair. The 40
samples my already represent the left and right signals, in
which case no computation is necessary. Otherwise the pair into[ 3 an] The resulting array of complex numbers is then passed
                                                                        Inverse Fast Fourier (IFFT ) Algorithm . A fixed -point
must be de -matrixed via one add and one subtract per sample IFFT algorithm            is used to allow processing of IMDCT on
pair in order to retrieve the proper channel coefficients .      devices which lack floating point capabilities . Most mobile
       Intensity stereo identifies regions in a channel pair that are 45 devices do not allow floating point computations, and of
similar, except for their position . Left- channel intensity
regions must have inverse quantization and scaling applied.             those that do allow floating point, it is usually too slow .
Right - channel intensity stereo regions use the left - channel            Due to the properties of the inverse Fourier transforma
inverse quantized and scaled coefficients, which must be manner         tion , the transformation can be calculated in a fixed point
recomplexity
    - scaled byoftheintensity
                       intensitystereo
                                   position factors. ofHence
                                       is a savings      one the net 50 scaled by. Inmultiplying
                                                             inverse
                                                                                         a fixed point transformation , the input is be
                                                                                                           the input values by a scale factor and
                                                                        then    the  correct
quantization per intensity stereo coded coefficient. The next reciprocal of the scale factor       output       is found by multiplying by the
standard step , temporal noise shaping (TNS ) , has a variable is applied before and after the. Therefore                                 a scaling operation
load , depending on the number of spectral coefficients that a power of two is chosen so that the scaling factor         IFFT     .  A  scale
                                                                                                                                                and
                                                                                                                                                     which is
                                                                                                                                                    re -scaling
are filtered.                                                        55
     Finally, the Inverse Modified Discrete Cosine Transform shifts are among the fastest operations for CPUs . . Bit
                                                                        operations     can   be     accomplished              by    bit  shift operations
( IMDCT ) transforms the spectral coefficients into time                   [ 4 ] Following the Inverse FFT step , elements from the
domain samples. For fixed -point implementations it is complex
required that any round - off noise is less than 1/2 LSB after the numbers asarray      in
                                                                                               C must again be multiplied by complex
                                                                                            step       [ 2] .
transform result is rounded to linear 16 -bit values . Fixed- 60 [ 5 ] The values from                        the resulting complex array C are
point realizations using 24 bit words are sufficient.                   then    stored  into   an     array    of Real numbers x of size N. The
     FIG . 16 illustrates Intermediate 23 and Final 24 optimi
zations for the digital audio IMDCT step used by the audio following pseudo code demonstrates the process :
decoding process in the multimedia object players 10 and 11 .
The audio decoder of the multimedia object players 10 and 65                           for ( k = I; KN / 8 ; I + = 2 ) {
11 , combines the use of a specific Inverse Fast - Fourier                                   x [ 2 * I ] = Im ( C [ N / 8 + I ]);
Transform with Pre- and Post -processing steps.
         Case 5:24-cv-03203-PHK Document 1-1 Filed 05/28/24 Page 33 of 34


                                                                          US 10,771,849 B2
                                       17                                                                            18
                                -continued                                            synthesis window . In the case of AAC , however, the output
                                                                                      synthesis window always has 2048 output values .
                x [ 2 * 1 + 1 ] = Re ( -C [ N /8-1-1] );
                x [ 2 * I + 2 ] = Im ( C [ N / 8 + 1 + 1 ]);
                x [ 2 * 1 + 3 ] = Re ( -C [ N /8–2–1] );                                     Window shape                   Non - zero byte range
                x [ 2 * I + N / 4 ] = Re (C [I ] ) ;
                x [ 2 * I + N /4 + 1] = Im ( -C [ N /4-1-1 ]);                               LONG ONLY                              0-2047
                x [ 2 * I + N / 4 + 2 ] = Re ( C [I + 1 ] ) ;                                LONG START                             0-1599
                x [ 2 * I + N / 4 + 3 ] = Im ( -C [ N /4-2–1 ]);                             LONG STOP                           448-2047
                x [ 2 * I + N / 2 ] = Re ( C [ N / 8 + 1] );                                 EIGHT SHORT                         448-1600
                x [ 2 * I + N / 2 + 1] = Im ( -C [ N /8-1-1] );                  10
                x [ 2 * I + N / 2 + 2 ] = Re ( C [N / 8 + 1 + 1 ]);
                x [ 2 * I + N / 2 + 3] = Im ( -C [N /8–2–1 ]);                          For some window shapes , the calculations can be short
                x [ 2 * I + N / 2 + N / 4 ] = Im ( -C [ I ] ) ;                       cut, avoiding the post -twiddle , windowing , re -ordering,
                x [ 2 * I + N / 2 + N / 4 + 1 ] = Re ( C [ N /4-1-1]);
                x [ 2 * I + N / 2 + N / 4 + 2 ] = Im ( -C [ I + 1 ]);               scaling and overlapping steps entirely.
                x [ 2 * I + N / 2 + N / 4 + 3 ] = Re ( C [ N /4-2-1 ]);               IMDCT permits two different window types: Kaiser
            }                                                                    15
                                                                                    Bessel Derived (KBD ) windows and Sine windows . KBD
                                                                                      uses a complicated formula which cannot be computed in
   As can be seen in FIG . 16 , several steps in the IMDCT real- time, and is always used as a table . Sine windows are
process can be combined . The goal of combining steps is to also used from tables in most implementations.
reduce the number of memory accesses needed to decode a 20 However, on a mobile device, which generally has a very
frame of audio . The flow on the right shows the steps as they small on - CPU memory cache , frequent accesses to a sine
occur in the decoder.                                            window value table will cause cache misses and degraded
   In summary then , the novel optimization of the IMDCT performance.
step in audio decoding shown by FIG . 16 pertains to               As an alternative to using a sine lookup table to compute
combining steps on the Final 24 optimization side :           25 windowing , the FIG . 18 shows the audio decoder of the
   1. Re -order, pre -scale and twiddle: The method loops over multimedia objects players 10 and 11 , using a bit-operation
the input data, and each datum is complex -multiplied by the based Taylor computation , as follows:
twiddle factor, and is then re - scaled by doing a bit shift                            1. Use trigonometric identities to express the sine calcu
operation. However, the twiddle factor is already bit- shifted                             lation in terms of a sine in the range of 0 to n / 2 . Call
so it can be treated as a fixed -point number, so the scaling 30                           the resulting angle X.
operation's bit shift is partially performed by the twiddle                             2. Calculate X * X . Call this value S.
factor itself. The relevant twiddle factors are stored in an                            3. Calculate the result as X * (256 - S * ( 43-( S << 1))
array table. Once the complex multiplication and scaling are           4. The result produces a window value in the range of 0
done, the resulting values are stored in the re - ordered 35              to 255 , allowing fast windowing without the use of
location in the IFFT input array.                                         lookup tables .
   2. Perform the fixed - point integer inverse Fourier trans          5. The bit shift operations in Step 3 can be further
form . This transformation is the same as the transformation        combined with other fixed -point multiplication steps .
in the pre -combined flow .                                            FIG . 19 is illustrates further IMDCT short window pro
   3. Re - scale , re -order, post -twiddle, window and overlap:    cessing   for even greater efficiency by the audio decoding
Combining these four operations into one step replaces four 40 process        of multimedia players 10 and 11. In a sequence of
array accesses with one , and some of the multiplications are eight        short windows, the input of 1024 values is divided into
                                                                    eight short windows of 128 values , and IMDCT, windowing
also combined into single bit shifts. This method loops over and
the IFFT output array, and performs four operations in each dowsoverlapping            is performed on each of these short win
                                                                           . Each window of 128 values results in a synthesis
iteration of the loop : the post -twiddle and rescale are com 45 output window of 256 values . These are then overlapped ,
bined, because the post- twiddle uses a twiddle factor table resulting in non - zero values in the range of 448 to 1600 .
which is already bit- shifted . Windowing is combined in this          The approach taken is to do every one of the IMDCT
step also , with window values coming from either a table or operations in sequence , rather than in parallel, storing the
a fast integer sine calculator. Finally, values are overlapped IMDCT results directly into the regions of the output array
and stored in the correct location in the output array .         50 which will be zeroed . The output values are then windowed
   FIG . 17 illustrates simplified input shortcut processes that and overlapped. After all the eight short windows are
are specific to AAC Low Complexity ( LC ) profile which are completed , the regions of the synthesis output window
used in the audio decoding process of multimedia players 10 which are always zero can be disregarded, due to the
and 11. Note , that the Mid /Side, Intensity and Temporal window shape shortcut method described above .
Noise Shaping steps , marked with cross hatches above , are 55 Finally, FIG . 20 illustrates an interleaved detection pro
optional . In cases where these three features are not present, cess in the audio decoding of received multimedia objects 25
audio decoding can further combine other steps in a novel by the multimedia object players 10 and 11. FIG . 20 illus
way. These steps are marked in grey in FIG . 17. If these trates the placement of gaps 26 at detected frames of low
other steps are combined , there are no dependencies within total energy 27 are they are detected during audio decoding
a frame until we reach the IFFT step within IMDCT itself. 60 by the multimedia object players 10 and 11. Hence , playback
Therefore operations between noiseless decoding and the is then controlled so that the gap will occur during that
pre - IFFT operations within IMDCT itself are combined , frame, which may be dropped, so that synchronization with
minimizing memory access.                                        video is not lost .
  IMDCT has four different window shapes which are                 In FIG . 1 the multimedia object player 10 is a download
common in other digital audio codecs : long only, long start, 65 able Java (J2M2 ) applet and the described audio and video
long stop , and eight short. Of these four window sequences,                          decoder optimizations and strategies, FIGS . 7-13 and FIGS .
only one ( long only ) has non - zero data in the entire output                       15-20 , as applied to standard MPEG4 and AAC decoding
          Case 5:24-cv-03203-PHK Document 1-1 Filed 05/28/24 Page 34 of 34


                                                    US 10,771,849 B2
                              19                                                                   20
make it possible for the multimedia object player 10 to                6. A multimedia player comprising :
playback live music and video , at acceptable frame rates              computer executable instructions stored on a non -transi
( 5-15 fps), on limited, cell phone handsets. Java cannot take           tory computer readable medium which when executed
advantage of hardware capabilities in processing the huge                by a processor:
number of calculations and variables required for either 5               requests transmission of multimedia objects ;
MPEG4 decoding or AAC decoding. Hence , the required                      receives audio and video segments encoded in a digital
optimizations for multimedia player 10 , to permit the play                  encoding format and with an encoding rate; wherein ,
back of AAC and MPEG4 on current mobile client hard                          said audio and video segments are associated object
                                                                            parameters and supplied host and path identification
ware , are a source of technological innovation and advance. 10             to form multimedia objects; and wherein said mul
   The foregoing is intended , along with the drawings, to                  timedia objects are located using http and received
illustrate the preferred embodiment of the invention . Those                by said multimedia player from servers using a
skilled in the art will be able to devise numerous arrange                  wireless connection ;
ments which, although not explicitly shown or described                   plays back received multimedia objects in a sequence
herein , embody the principles of the invention and are within 15            such that fluidity, video quality and audio quality are
their spirit and scope as defined by the following claims .                  maintained by selecting a plurality of said multime
                                                                             dia objects that reflect available network bandwidth ,
  What is claimed is :
                                                                             autonomously adjusting said selection and playback
                                                                             according to the multimedia object parameters and
  1. A method comprising :                                                   supplied host path identification, and by utilizing
  receiving audio and video segments encoded in a digital 20       optimized decoding processes to maintain quality
                                                                  playback
     encoding format and with an encoding rate ; wherein ,   7. A system comprising
     said audio and video segments are associated with       at least one centralized content server transmitting mul
    object parameters and supplied host path identification     timedia objects ; said multimedia objects including seg
    to form multimedia objects ;                                mented audio and video , and parameters and supplied
  requesting by a multimedia player, transmission of said 25    host path identification ;
     multimedia objects; wherein said multimedia objects               at least one multimedia player configured to :
     are located using http and received by said multimedia               request transmission of multimedia objects;
     player from servers using a wireless connection ;                    receive audio and video segments encoded in a digital
  playing back received multimedia objects by the multi                      encoding format and with an encoding rate; wherein ,
     media player, wherein the multimedia player is config- 30              said audio and video segments are associated object
     ured to play multimedia objects in a sequence such that                parameters and supplied host and path identification
     fluidity , video quality and audio quality are maintained              to form multimedia objects; and wherein said mul
     by selecting a plurality of said multimedia objects that               timedia objects are located using http and received
     reflect available network bandwidth , autonomously                     by said multimedia player from servers using a
     adjusting said selection and playback according to the 35              wireless connection ;
     multimedia object parameters and supplied host path                  play back received multimedia objects in a sequence
     identification, and by                                                 such that fluidity, video quality and audio quality are
  utilizing optimized decoding processes to maintain qual             maintained by selecting a plurality of said multime
     ity playback                                                     dia objects that reflect available network bandwidth ,
  2. The method of claim 1 , wherein the transmission of the 40       autonomously adjusting said selection and playback
multimedia objects is carried out by protocols that can serve         according to the multimedia object parameters and
files in a directory.                                                 supplied host path identification , and by utilizing
   3. The method of claim 1 , wherein the multimedia objects          optimized   decoding processes to maintain quality
are created from a live multimedia stream that is transcoded          playback
into an optimal digital format at an optimal encoding rate 45 are8.created
                                                                    The method of claim 1 , wherein the multimedia objects
                                                                            from existing multimedia files that have been
reflecting available network bandwidth and converting the transcoded       into optimal digital formats at an optimal encod
input multimedia stream into audio and video segments by        ing rates reflecting available network bandwidth , and con
splitting the encoded stream into intervals for access by       verting them into audio and video segments by splitting the
wireless clients .
   4. The method of claim 1, wherein a multimedia file is 50 encoded
                                                                   9. The files into according
                                                                           method    intervals forto claim
                                                                                                     access1by, wherein
                                                                                                                 wirelesstheclients.
                                                                                                                               object
scanned for an l- frame, and a multimedia segment is split at parameters      and supplied identification of the first player
the l - frame to create the video segment, together with a received multimedia           object define a sequence of similar
separate audio segment.
   5. The method of claim 1 , wherein multimedia objects are 55 multimedia    objects and configure the player accordingly,
split from multiple MPEG4 composite layer streams by using object parameters and video decoding optimization ,
scanning time intervals and splitting the multimedia objects such that fluidity, video and audio quality are maintained .
into video multimedia objects at next I - frames.
